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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

JETAVIAN BRYANT,                       )
                                       )
      Plaintiff,                       )
                                       )
      v.                               ) Civil Action No. 1:16cv913-ECM
                                       )
CITY OF DOTHAN, ALA., et al.,          )
                                       )
      Defendants.                      )

                                 ORDER

      Now pending before the court is the parties’ joint stipulation of dismissal (doc.

79) filed on February 25, 2019. This case is presently stayed. Accordingly, upon

consideration of the motion, and for good cause, it is

      ORDERED that the stay previously entered in this matter be and is hereby

LIFTED. It is further

      ORDERED and ADJUDGED that this case be and is hereby DISMISSED

with prejudice, each party to bear its own costs.

      DONE this 26th day of February, 2019.


                           /s/ Emily C. Marks
                          EMILY C. MARKS
                          CHIEF UNITED STATES DISTRICT JUDGE
